                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

HARRY ANTHONY SCHEINA, III,                      )
                                                 )
               Plaintiff,                        )
                                                 )
       vs.                                       )   Case No. 6:18-cv-03169-BP-P
                                                 )
JAMES SIGMAN, et al.,                            )
                                                 )
               Defendants.                       )

                                             ORDER

       Plaintiff, who is incarcerated at the Fulton Reception & Diagnostic Correctional Center in

Fulton, Missouri, has filed pro se this civil action pursuant to 42 U.S.C. § 1983. Plaintiff has

moved for leave to proceed in forma pauperis without the prepayment of court fees or costs.

                                            Standard

       Pursuant to 28 U.S.C. § 1915A(a), the Court has the obligation to screen any complaint in

which a prisoner seeks redress from a governmental entity or officer or employee of a

governmental entity. When determining whether a plaintiff should be allowed to proceed in

forma pauperis, the Court uses a two-step process. Martin-Trigona v. Stewart, 691 F.2d 856, 857

(8th Cir. 1982). First, the Court must decide whether the plaintiff “qualifies by economic status”

pursuant to 28 U.S.C. § 1915(a). Id. Second, if the plaintiff does so qualify, the Court considers

whether the complaint nonetheless should be dismissed because it is frivolous or malicious, fails

to state a claim upon which relief may be granted, or seeks monetary relief against a defendant

who is immune from relief. Id. (citing 28 U.S.C. § 1915(e)(2)(B)(i)-(iii)).

                                         $350 Filing Fee

       Pursuant to 28 U.S.C. § 1915(b)(1), Plaintiff must pay the full $350.00 filing fee in this

civil action. See In re Tyler, 110 F. 3d 528, 529-30 (8th Cir. 1997) (under Prison Litigation



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Reform Act, prisoners are responsible for filing fees the moment a civil action is filed). If

granted leave to proceed in forma pauperis, Plaintiff is entitled to pay the filing fee over time

through the payment of an initial partial filing fee to be assessed by the court under 28 U.S.C. §

1915(b)(1) and/or through periodic payments from Plaintiff’s inmate trust fund account as

authorized in 28 U.S.C. § 1915(b)(2).

       Pursuant to 28 U.S.C. § 1915(b)(1), the court is required to assess and, when funds exist,

collect an initial partial filing fee of twenty percent of the greater of the average monthly deposits

or the average monthly balance in the prisoner’s account for the six months immediately

preceding the date of the filing of a civil action. Having reviewed Plaintiff’s inmate account

statement, Plaintiff will be required to pay an initial partial filing fee of $0.22 ($6.50 total

income ÷ 6 months x 20 %). If Plaintiff files an amended complaint as set forth below, this

Court will require Plaintiff to pay the full $350.00 filing fee in this case by ordering

Plaintiff’s custodian to deduct periodic payments from Plaintiff’s inmate account pursuant

to 28 U.S.C. § 1915(b)(2), which will continue regardless of the outcome of this case.

                                        Amended Complaint

       Having determined that Plaintiff qualifies by economic status to proceed in forma

pauperis, the Court must now decide whether Plaintiff meets the second prong of the Martin-

Trigona test: whether the complaint is frivolous or malicious, fails to state a claim upon which

relief may be granted, or seeks monetary relief against a defendant who is immune from relief.

See 28 U.S.C. §§ 1915(e)(2)(B)(i)-(iii). However, due to insufficiencies in Plaintiff’s present

complaint, Plaintiff must file an amended complaint as set forth below.

       To state a claim under § 1983, “a plaintiff must plead that each Government official

defendant, through the official’s own individual actions, has violated the Constitution.” Ashcroft



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v. Iqbal, 556 U.S.662, 676 (2009). A defendant must have been personally involved in the

deprivation of plaintiff’s rights to be liable, Martin v. Sergeant, 780 F.2d 1334, 1337 (8th Cir.

1985), and pleadings must offer more than labels and conclusions; formulaic recitations of the

elements of a cause of action are not sufficient. Iqbal, 556 U.S. at 678. A plaintiff must

demonstrate a plausible claim for relief, which is more than a “mere possibility of misconduct.”

Id. at 679. “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. at 678. “Determining whether a complaint states a plausible claim for relief [is] a

context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id. at 679.

       Here, Plaintiff names the following four defendant in this action: (1) Sheriff James

Sigman; (2) Jennifer, Jail Administrator; (3) Dr. Bentley; and (4) Pam Tripp. (Doc. 1). In the

complaint, Plaintiff asserts that on June 5, 2017, he “was refused proper medical treatment by

staff” for a broken jaw that occurred prior to arriving at he facility, and that “staff refused to

transport me to outside medical though Dr. Bently stated that I was in immediate need.” Id. at p.

3 [sic]. Plaintiff broadly claims that on April 4, 2018, Defendant Sigman “used excessive force”

while restraining Plaintiff and rebroke his injured jaw. Id.

       While pro se claims are to be liberally construed, see Haines v. Kerner, 404 U.S. 519

(1972), Plaintiff’s claims lack the requisite specificity and do not clearly state what cause of

action Plaintiff intends to assert against the named Defendant. Plaintiff fails to set forth specific

allegations of fact as to each Defendant’s personal involvement in Plaintiff’s federal claim.

       Insofar as Plaintiff alleges Defendants were deliberately indifferent to his medical needs,

the Court notes that “[d]eliberate indifference to the serious medical needs of a prisoner



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constitutes cruel and unusual punishment . . . and the Constitution prohibits state governments

from inflicting such punishments.” Merlin v. Nix, 86 F.3d 761, 765 (8th Cir. 1996) (citing Estelle

v. Gamble, 429 U.S. 97, 102-03 (1976)). However, “[a] prima facie case alleging such deliberate

indifference requires the inmate-plaintiff to demonstrate that he suffered from an objectively

serious medical need and that prison officials actually knew of, but deliberately disregarded, that

need.” Meuir v. Greene Cnty. Jail Employees, 487 F.3d 1115, 1118 (8th Cir. 2007) (citation

omitted). But “nothing in the Eighth Amendment prevents prison doctors from exercising their

independent professional judgment.” Long v. Nix, 86 F.3d 761, 765 (8th Cir. 1996). Further,

Plaintiff is not entitled to relief simply because a different medical professional may have

diagnosed him differently. White v. Farrier, 846 F.2d 322, 327 (8th Cir. 1988). Moreover,

“[p]rison officials do not violate the Eighth Amendment when, in the exercise of their

professional judgment, they refuse to implement a prisoner’s requested course of treatment.”

Merlin, 86 F.3d at 765. Additionally, “[p]rison officials lacking medical expertise are entitled to

rely on the opinions of medical staff regarding inmate diagnosis and the decision of whether to

refer the inmate to outside doctors or dentists.” Holden v. Hirner, 663 F.3d 336,343 (8th Cir.

2011). More to the point, “[p]rison officials cannot substitute their judgment for a medical

professional’s prescription.” Meloy v. Bachmeier, 302 F.3d 845, 849 (8th Cir 2002). Finally, the

Eighth Circuit has held that “[d]eliberate indifference is akin to criminal recklessness, which

demands more than negligent misconduct.” Popoalii v. Corr. Med. Servs., 512 F.3d 488, 499

(8th Cir. 2008) (citation omitted).

         Additionally, the Court notes Plaintiff attempts to be bring claims against multiple parties

that do not arise out of the same transaction or occurrence. This is not allowed.1


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            Rule 18(a) of the Federal Rules of Civil Procedure states, “A party asserting a claim to relief as an
original claim, counterclaim, cross-claim, or third-party claim may join, either as independent or as alternate claims,

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         Because Plaintiff is proceeding pro se and in forma pauperis, the Court will give him an

opportunity to file an amended complaint in this action. In so doing, Plaintiff should select the

transaction or occurrence he wishes to pursue, in accordance with Rules 18 and 20 of the

Federal Rules of Civil Procedure, and file an amended complaint, limiting his facts and

allegations to the defendant(s) involved in said occurrence. Plaintiff should only include in his

amended complaint those claims that arose out of the same transaction or occurrence, or simply

put, claims that have some relation to each other. See Fed. R. Civ. P. 20(a)(2). Alternatively,

Plaintiff may choose to set forth as many claims he has against a single individual that have

some relation to each other. See Fed. R. Civ. P. 18(a). He may join defendants only if

appropriate.

         If Plaintiff elects to sue more than one defendant, he will be required to do the following:

On a separate piece of paper for each individual or entity Plaintiff wishes to sue (for each

defendant), Plaintiff shall (1) write the name of that individual or entity, and (2) explain briefly

how that individual or entity may have violated Plaintiff’s rights under federal law. In other

words, if Plaintiff wishes to sue four defendants, he must submit four pages—one page for each

defendant on which he briefly explains how that particular defendant may have violated

Plaintiff’s rights under federal law.

         As such, in an amended complaint, Plaintiff shall set out sufficient facts to show exactly

who is involved in this lawsuit claim and what each individual defendant specifically did or

failed to do in violation of Plaintiff’s federally protected rights. In his amended complaint,

Plaintiff shall include all of his allegations against every defendant he is suing and shall provide


as   many claims, legal, equitable, or maritime, as the party has against an opposing party.”
          Rule 20(a)(2) of the Federal Rules of Civil Procedure allows for joinder of defendants if “any right to relief
is asserted against them jointly, severally, or in the alternative with respect to or arising out of the same transaction,
occurrence, or serious of transactions or occurrences; and . . . any question of law or fact common to all defendants
will arise in the action.”

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sufficient allegations as set forth above. Plaintiff shall also explain any injuries he suffered as a

result of any defendant’s actions. Any claims or defendants not specifically set forth in the

amended complaint will be deemed to have been abandoned.

       Plaintiff’s amended complaint must encompass the allegations from his original

complaint with any proposed amendments – in one complete document. The proposed amended

complaint will be a standalone document, and it may not refer back to the original complaint.

Accordingly, the Clerk is directed to send Plaintiff a court-approved legal form. Using the court-

approved legal form, and following all instructions on that form, Plaintiff is to file a proposed

amended complaint in which he lists all of the defendants he wishes to sue and explains briefly

how those defendants may have violated his legal rights. Plaintiff must do so in compliance

with Federal Rules of Civil Procedure 18(a) and 20(a) as set forth herein.

       If Plaintiff wishes to pursue additional claims against additional defendants, and the

claims do not arise from the same transaction or occurrence he has chosen to advance in

his amended complaint, he must file each such claim(s) on a separate complaint form (or

forms) and either pay the entire filing fee or file a motion for leave to proceed in forma

pauperis for each new case.

       Thus, if Plaintiff wishes to proceed with this case, he must pay the initial partial filing fee

and file an amended complaint on or before July 5, 2018, in compliance with this order, or this

case will be dismissed pursuant to Federal Rule of Civil Procedure 41(b). If Plaintiff files an

amended complaint, the Court will order that the $350 filing fee be paid through automatic

deductions from Plaintiff’s inmate trust fund account, which will continue regardless of the

outcome of the case.




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                                              Conclusion

          Accordingly, it is ORDERED that:

          (1) Plaintiff is granted provisional leave to proceed in forma pauperis;

          (2) Plaintiff shall pay to the Clerk of the Court for the Western District of Missouri,

Western Division, an initial partial filing fee of $0.22;

          (3) the Clerk of the Court is directed to send Plaintiff another set of civil rights forms for

his use in filing an amended complaint;

          (4) Plaintiff is directed to file a single amended complaint, as specifically discussed

above; and

          (5) Plaintiff’s failure to pay the required initial partial filing fee and amend the complaint

as directed, on or before July 5, 2018, will result in the dismissal of this case without further

notice.

          IT IS SO ORDERED.

                                                         /s/ Beth Phillips
                                                         BETH PHILLIPS, JUDGE
                                                         UNITED STATES DISTRICT COURT
Dated: June 20, 2018




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